                         Case:SEVENTH
                               24-1942 CIRCUIT TRANSCRIPT
                                         Document: 12     INFORMATION
                                                         Filed: 06/11/2024SHEET
                                                                             Pages: 1
 PART I – M ust be com pleted by party or party’s attorney pursuant to Rule 10(b) of the Federal R ules of Appellate Procedure and
 R ule 11(a) of the C ircuit R ules. T he appellant m ust file this form with the court reporter within 14 days of filing the notice of appeal,
 whether transcript is being ordered or not. (FR AP 10(b)(1)) Satisfactory arrangem ents with the court reporter for paym ent of the
 costs of the transcripts m ust also be m ade at that tim e. (F R AP 10(b)(4)) (N ote: Appellees as well as appellants are expected to
 use this form when ordering transcripts.)

 Short Title                                                              District                              D.C. Docket No.
                                                                         Southern District of Indiana        1:19-cv-02462-JMS-KMB
 John M. Kluge v. Brownsburg Community School
                                                                          District Judge                        Court Reporter
 Corporation
                                                                         Jane Magnus-Stinson
        I am ordering transcript.
                                                   no hearing was         Sign below and return original and one copy to court reporter.
  ✔     I am not ordering transcript because:
                                                   conducted              D istribute rem aining copies to the C lerk of the District C ourt
                                                                          and opposing party, retaining one copy for yourself.
        T he transcript has been prepared.

 Indicate proceedings for which transcript is required. Dates m ust be provided:                                            D ate(s)

           Pretrial proceedings. Specify:

           Voir D ire

 T rial or H earing. Specify:

           O pening statem ent

           Instruction conference

           C losing statem ents

           C ourt instructions

           Post-trial proceedings. Specify:

           Sentencing

           O ther proceedings. Specify:



 M ethod of P aym ent:           C ash                               C heck or M oney O rder                        C .J.A. Voucher
 Status of P aym ent:            Full Paym ent                       Partial Paym ent                               N o Paym ent Yet

 Signature:          s/ Travis C. Barham                                                              T elephone N o. 770-339-0774
 Address:            1000 Hurricane Shoals Rd. N.E., Suite D-1100
                     Lawrenceville, GA 30043
                    _________________________________________________________                               June 11, 2024
                                                                                                      Date: __________________________


 PAR T II – M ust be com pleted by C ourt R eporter pursuant to Rule 11(b) of the F ederal R ules of A ppellate P rocedure. By signing
 this Part II, the C ourt R eporter certifies that satisfactory arrangem ents for paym ent have been m ade.

 U.S.C.A. Docket No.                     Date Order Received              Estimated Completion Date             Estimated Length




                                    s/
 Signature of C ourt R eporter:                                                                        D ate:

 N O T IC E: T he Judicial C onference of the United States, by its resolution of M arch 11, 1 98 2, has provided that a penalty of 10
 percent m ust apply, unless a waiver is granted by the C ou rt of Appeals’ C lerk , when a “transcript of a case on appeal is not
 delivered within 30 days of the date ordered and paym ent received therefor.” T he penalty is 20 percent for transcript not delivered
 within 60 days.
O riginal to C ourt R eporter. C opies to:      U .S.C .A. C lerk   Service Copy     District Court Clerk and to      Party / Counsel
O rdering T ranscript.
